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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                   Case No. 13-20894

D-1 Zia Hassan, et al.,                              Honorable Sean F. Cox

      Defendants.
_________________________________/

                                   OPINION AND ORDER

       In this action, Defendant Zia Hassan, along with two other defendants, is charged in a first

superceding indictment with Health Care Fraud Conspiracy and Conspiracy to Pay and Receive

Kickbacks. (Doc. #39). The Government alleges that Defendants submitted false and fraudulent

claims to Medicare for payment and offered kickbacks and bribes to Medicare beneficiaries in

exchange for Defendants’ use of their Medicare beneficiary numbers.

       On May 13, 2014, Defendant Hassan filed a Motion to Compel Production of Rough Notes

(Doc. #50). The Government filed a response on June 27, 2014 (Doc. #53) and the Court heard oral

argument on July 2, 2014. For the reasons set forth below, the Court shall DENY Defendant’s

motion.

                                        BACKGROUND

A)     Defendant Zia Hassan’s Motion to Compel Discovery

       Defendant is in receipt of formal Federal Bureau of Investigation (“F.B.I.”) reports and U.S.

Dept. Of Health and Human Services reports regarding this case. Defendant requests that this Court

order the Government to produce the rough notes made by the Government agents who interviewed

Government witnesses and then prepared corresponding formal reports.            In the alternative,
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Defendant requests that the Government be ordered to preserve these rough notes for trial so that

they may be examined by the Court after the Government witness testifies on direct examination.

B)     Government’s Response to Defendant’s Motion

       The Government responds that Defendant’s motion is untimely, as the Jencks Act permits

a defendant to discover witness statements only after that witness has testified on direct examination.

Here, that precondition has not occurred yet. Therefore, the Government argues, Defendant is not

entitled to discovery of these rough notes.

       The Government also argues that the rough notes do not qualify as witness statements

because they were not adopted by the witnesses, and because the rough notes are not recordings or

transcripts of witness statements.

                                       APPLICABLE LAW

The Jencks Act

       The Jencks Act sets forth the circumstances under which a defendant is entitled to discover

the statements of government witnesses:

       (a)     In any criminal prosecution brought by the United States, no statement or
               report in the possession of the United States which was made by a
               Government witness or prospective Government witness (other than the
               defendant) shall be the subject of subpoena, discovery, or inspection until
               said witness has testified on direct examination in the trial of the case.

       (b)     After a witness called by the United States has testified on direct
               examination, the court shall, on motion of the defendant, order the United
               States to produce any statement (as hereinafter defined) of the witness in the
               possession of the United States which relates to the subject matter as to
               which the witness has testified.

        ...

       (e)     The term “statement”, as used in subsections (b), (c), and (d) of this section
               in relation to any witness called by the United States, means—

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               (1)     a written statement made by said witness and signed or otherwise
                       adopted or approved by him;

               (2)     a stenographic, mechanical, electrical, or other recording, or
                       transcription thereof, which is a substantially verbatim recital of an
                       oral statement made by said witness and recorded contemporaneously
                       with the making of such oral statement; or

               (3)     a statement, however taken or recorded, or a transcription thereof, if
                       any, made by said witness to a grand jury.

18 U.S.C. § 3500 (a) - (e) (emphasis added).

       In other words, the Jencks Act generally provides that a defendant “has no right to discover

statements of witnesses until after the witness testifies at trial. The Court cannot order an earlier

disclosure of statements by such witnesses, since it would in effect be an amendment to the Jencks

Act.” United States v. Austin, 99 F.R.D. 292, 301 (W.D. Mich. 1983).

       Moreover, rough notes made by a government agent during an interview of a government

witness are generally not discoverable. See U.S. v. Stephens, 492 F.2d 1367, 1377 (6th Cir. 1974)

(“The Jencks Act applies to a ‘substantially verbatim recitation’ of an oral statement by a witness

and does not apply to an officer’s rough notes.”). However, a government agent’s rough notes taken

during witness interviews may be discoverable per the Jencks Act if “(1) the notes were read back

to and verified by the witnesses and (2) the reports summarized the notes without material

variation.” U.S. v. Chitwood, 457 F.2d 676, 677 (6th Cir. 1972), citing Campbell v. U.S., 373 U.S.

487, 492 (1963).

       “An agent’s rough interview notes may also be discoverable under Brady if the defendant

shows that the notes are exculpatory and material.” U.S. v. Lujan, 530 F. Supp. 2d 1224, 1265

(D.N.M. 2008).

                                           ANALYSIS

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       The Court shall deny Defendant Hassan’s motion to compel production of rough notes of

witness interviews. The Jencks Act expressly provides that witness statements, in any form, are

discoverable by the defendant only after that witness testifies on direct examination at trial. 18

U.S.C. § 3500 (a). Therefore, Defendant’s request is premature. However, at oral argument on this

motion, the Government stated on the record that it would preserve the rough notes of its

interviewing agents; Defense counsel agreed that this is an appropriate resolution of his motion.

                               CONCLUSION AND ORDER

       Based on the foregoing, the Court shall DENY Defendant’s Motion to Compel Production

of Rough Notes (Doc. #53). Further, the Court ORDERS that the Government shall preserve all

rough notes made by its interviewing agents during interviews of Government witnesses until after

trial in this matter has been completed.

       IT IS SO ORDERED.


                                      S/Sean F. Cox
                                      Sean F. Cox
                                      United States District Judge

Dated: July 16, 2014

I hereby certify that a copy of the foregoing document was served upon counsel of record on August
6, 2012, by electronic and/or ordinary mail.

                              S/Jennifer McCoy
                              Case Manager




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